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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff,

         v.                                          Case No. 8:08-cr-435-T-30MAP

  PETER BATTLE, III,

         Defendant.



                      PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of the United States’

  Motion for a Preliminary Order of Forfeiture (Dkt. #61), which, upon entry, shall

  become a final order as to defendant Peter Battle, III’s, right, title, and interest in

  $2,090.00 in United States currency.

         Being fully advised in the premises, the Court hereby finds that the United

  States has met its burden of establishing the sufficiency of the nexus between the

  conspiracy to possess with intent to distribute illegal drugs and the property sought

  for forfeiture. Accordingly, it is hereby

         ORDERED, ADJUDGED AND DECREED that for good cause shown, said

  Motion of the United States is hereby GRANTED.

         It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. § 853

  and Fed. R. Crim. P. 32.2(b)(2), all right, title and interest of defendant Peter Battle,

  III, in the referenced currency is hereby forfeited to the United States for disposition
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  according to law.

           The Court retains jurisdiction to enter any further orders necessary for the

  forfeiture and disposition of the property and to entertain any third party claims that

  may be asserted in these proceedings.

           DONE and ORDERED in Tampa, Florida on March 16, 2009.




  Copies to:
  Anita M. Cream, AUSA
  Counsel of Record
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